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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
                                          :
v.                                        :       Case No. 1:22-cr-00413-CKK-1
                                          :
                                          :
DOMINIC BOX,                              :
                                          :
              Defendant.                  :

                                         ORDER

       Upon consideration of Dominic Box’s Motion to Expedite Order on Motion to Dismiss, it

is hereby,

       ORDERED, that Mr. Box’s Motion is GRANTED; and it is hereby,

       FURTHER ORDERED, that the United States’ Motion to Dismiss Indictment with

Prejudice Pursuant to Federal Rule of Criminal Procedure 48(a), ECF No. 110, is GRANTED.




___________________                       _________________________________
DATE                                      COLLEEN KOLLAR-KOTELLY
                                          SENIOR UNITED STATES DISTRICT JUDGE




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